Case: 1:02-cv-00733-SSB-TSB Doc #: 102 Filed: 02/04/08 Page: 1 of 11 PAGEID #: 673
Case: 1:02-cv-00733-SSB-TSB Doc #: 102 Filed: 02/04/08 Page: 2 of 11 PAGEID #: 674
Case: 1:02-cv-00733-SSB-TSB Doc #: 102 Filed: 02/04/08 Page: 3 of 11 PAGEID #: 675
Case: 1:02-cv-00733-SSB-TSB Doc #: 102 Filed: 02/04/08 Page: 4 of 11 PAGEID #: 676
Case: 1:02-cv-00733-SSB-TSB Doc #: 102 Filed: 02/04/08 Page: 5 of 11 PAGEID #: 677
Case: 1:02-cv-00733-SSB-TSB Doc #: 102 Filed: 02/04/08 Page: 6 of 11 PAGEID #: 678
Case: 1:02-cv-00733-SSB-TSB Doc #: 102 Filed: 02/04/08 Page: 7 of 11 PAGEID #: 679
Case: 1:02-cv-00733-SSB-TSB Doc #: 102 Filed: 02/04/08 Page: 8 of 11 PAGEID #: 680
Case: 1:02-cv-00733-SSB-TSB Doc #: 102 Filed: 02/04/08 Page: 9 of 11 PAGEID #: 681
Case: 1:02-cv-00733-SSB-TSB Doc #: 102 Filed: 02/04/08 Page: 10 of 11 PAGEID #: 682
Case: 1:02-cv-00733-SSB-TSB Doc #: 102 Filed: 02/04/08 Page: 11 of 11 PAGEID #: 683
